Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2581 Page 1 of 31



     1   DWIN LEGAL, APC
         Evan Dwin (SBN 241 027)
     2   2121 Palomar Airport Road, Suite 170
     3
         Carlsbad, CA 92011
         Tel: (760) 536-6471
     4   Fax: (760) 585-4649
         Email: edwin@dwinlegal.com
     5
         Attorneys for Plaintiff
     6   KATHRYN KAILIKOLE
     7

     8

     9                     UNITED STATES DISTRICT COURT
    10                   SOUTHERN DISTRICT OF CALIFORNIA
    11
    12   KATHRYNKAILIKOLE, an                   Case No: 3:18-cv-02877-AJB-MSB
         individual,
    13                                          DECLARATION OF EVAN DWIN IN
                          Plaintiff,            SUPPORT OF PLAINTIFF
    14                                          KATHRYN KAILIKOLE'S
    15
              v.                                OPPOSITION TO DEFENDANT
                                                PALOMAR COMMUNITY
    16   PALOMARCOMMUNITY                       COLLEGE DISTRICT'S SPECIAL
         COLLEGE DISTRICT, a                    MOTION TO STRIKE PLAINTIFF'S
    17   governmental entity; and DOES 1        FIRST AMENDED COMPLAINT
         through 25, inclusive,
    18                                          DATE: June 20,2019
    19                    Defendants.           TIME: 2:00 p.m.
                                                PLACE: Courtroom 4A
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         DECLARATION OF EVAN DWIN IN SUPPORT OF OPPOSITION TO SPECIAL MOTION
                            TO STRIKE PURSUANT TO CAL. CODE CIV. PROC. § 425.16
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2582 Page 2 of 31



     1          I, Evan Dwin, hereby declare and state as follows:
     2          1.         I am an attorney licensed to practice before this Court, and the
     3   principal of Dwin Legal, APC, counsel of record for Plaintiff Kathryn Kailikole
     4   ("Plaintiff'').     I make this Declaration in support of Plaintiffs Opposition to
     5   Defendant Palomar Community College District's (the "District") Special Motion
     6   to Strike Plaintiffs First Amended Complaint Pursuant to Cal. Code Civ. Proc. §
     7   425.16. I have personal knowledge of the matter contained herein. If called as a
     8   witness I could and would testify competently to the matters set forth in herein.
     9          2.         Attached hereto as Exhibit 1 is a true and correct copy of an email
    IO   from me to Andrea Naested, counsel for the District, dated January 30, 2018.
    II          3.         Attached hereto as Exhibit 2 is a true and correct copy of an e-mail
    12   Ms. Naested sent to me, which is dated February 01, 2018.
    I3          4.         Attached hereto as Exhibit 3 is a true and correct copy of an email I
    14   sent to Ms. Naested on February 16, 2018.
    I5          5.         Attached hereto as Exhibit 4 is an e-mail Ms. Naested sent to me on
    I6   February 20, 2018.
    I7          6.         Attached hereto as Exhibit 5 is a true and correct copy of a Notice of
    I8   Proposed Non-Renewal dated February 26, 2018 that the District sent to Plaintiff.
    I9          7.         Attached hereto as Exhibit 6 is a true and correct copy of an e-mail I
   20    sent to Ms. Naested on February 27, 2018.
   21           8.         Attached hereto as Exhibit 7 is a true and correct copy of an e-mail
   22    from Ms. Naested to me, dated February 27, 2018.
   23           9.         On January 9, 2019, I sent a letter, via e-mail, to Kevonna Ahmad and
    24   Adam Sloustcher, counsel for the District, in response to the District's threat to file
   25    an anti-SLAPP motion in this Action. I advised Ms. Ahmad and Mr. Sloustcher in
   26    writing of the recent opinion by the California Supreme Court in Park v. Board of
    27   Trustees of the University of California, 2 Cal. 5th 1057 (2018) and by the
   28
                                                      2
         DECLARATION OF EVAN DWIN IN SUPPORT OF OPPOSITION TO SPECIAL MOTION
                            TO STRIKE PURSUANT TO CAL. CODE CIV. PROC. § 425.16
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2583 Page 3 of 31



     1   California Court of Appeal in Nam v. Regents of California, 1 Cal. App. 5th 1176
    2    (20 16). A true and correct copy of that e-mail is attached hereto as Exhibit 8.
     3         10.    There has not yet been a Rule 26(f) Conference in this Action and
     4   discovery has not commenced. Plaintiff has not had an opportunity to request and
     5   review documents in the exclusive possession of the District, including her own e-
     6   mails and e-mails by District administrators regarding its employment decisions
     7   and she has not had the opportunity to depose Kahn, Norman, Love, or other
     8   witnesses as is her right under the Rules of Civil Procedure.
     9         I declare under penalty perjury under the laws of the United States of
    10   America and California that the foregoing is true and correct.
    11         Executed this 17th day of April 2019 in Carlsbad, California.
    12
                                           Is/ Evan Dwin
    13
                                             Evan Dwin
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         DECLARATION OF EVAN DWIN IN SUPPORT OF OPPOSITION TO SPECIAL MOTION
                            TO STRIKE PURSUANT TO CAL. CODE CIV. PROC. § 425.16
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2584 Page 4 of 31



                                  INDEX OF EXHIBITS
     2
     3   Ex.      Pages      Descriution
     4    1       1-4        E-mail from Evan Dwin to Andrea Naested dated
     5                       January 30,2018.
     6   2        5-8        E-mail from Andrea Naested to Evan Dwin dated
     7                       February 1, 2018.
     8   3        9-10       E-mail from Evan Dwin to Andrea Naested dated
     9                       February 16,2018.
    10   4        11-12      E-mail from Andrea Naested to Evan Dwin dated
    11                       February 20, 2018.
    12   5        13-14      Notice of Proposed Non-Renewal dated February 26,
    13                       2018.
    14   6        15-17      E-mail from Evan Dwin to Andre Naested dated
    15                       February 27, 2018.
    16   7        18-22      E-mail from Andrea Naested to Evan Dwin dated
    17                       February 27, 2018.
    18   8        23-27      Letter from Evan Dwin to Kevonna Ahmad and Adam
    19                       Sloustcher dated January 9, 2019.
    20
   21

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   28                                        4
         DECLARATION OF EVAN DWIN IN SUPPORT OF OPPOSITION TO SPECIAL MOTION
                            TO STRIKE PURSUANT TO CAL. CODE CIV. PROC. § 425.16
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2585 Page 5 of 31




                          EXHffiiT 1
  Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2586 Page 6 of 31



Evan Dwin

From:                              Evan Dwin
Sent                               Tuesday, January 30,201810:18 PM
To:                                Andrea
Subject:                           RE: Kathryn Kailikole


Dear Ms. Naested,




                                                                                                                                J
I write to follow up on our call from last week, and to request Dr. Kailikole's employment records.

In accordance with Labor Code section 1198.5, please provide me with Dr. Kailikole's entire personnel file. Pursuant to
the statute, this file necessarily includes any documents related to "any grievance" concerning Dr. Kailikole as well as
any document concerning her performance. Accordingly, among other things, Palomar College should provide copies of
all documents relating the investigation that prompted Palomar to place Dr. Kailikole on paid leave.

In the meantime, on our call, you advised me that you would try to obtain further information regarding the subject
matter of the investigation. The requested information included at least advising me of the department to which the
investigation relates, as well as identifying the documents constituting the purported "confidential information" alleged
to have been disclosed. Please update me on the status of that inquiry.
                                                                                                                                ]
In addition, pursuant to Labor Code section 226(c), please also provide me with all Dr. Kailikole's pay statements and          ]
other payroll documents within 21 days of this letter. Finally, in accordance with Labor Code section 432, please also
provide me with all documents signed by Dr. Kailikole since she has been an employee of Palomar College.

If it is more convenient for you, I will accept the documents electronically.

Thank you for your cooperation in this matter.

Sincerely,
Evan Dwin


Evan Dwin
Dwin Legal, APC
2121 Palomar Airport Roa~ Suite 170
Carlsbad, CA 92011
Phone:760-S36-6471
Fax:760-585-4649
edwin@dwinlegal.com

From: Andrea [mailto:naested@aol.com]
Sent: Tuesday, January 23, 2018 3:49 PM
To: Evan Dwin <edwin@dwinlegal.com>
Subject: RE: Kathryn Kailikole

Dear Mr. Dwin,

Our law firm represents the Palomar Community College District. Your email to Dr. Norman (below) requests that the
District communicate with you directly regarding Dr. Kailikole, and also requests that the District not contact Dr. Kailikole
directly. Please be advised that the District has a right as an employer to communicate with Dr. Kailikole directly
regarding employment related matters. For example, the District will send communications directly to Dr. Kailikole

                                                                                                                        Exhibit I
                                                                                                                        P. 1
  Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2587 Page 7 of 31


regarding the currently pending workplace investigation such as notification of when her interview will take
place. Pursuant to your request that the District communicate with you about these matters, the District will copy you
on these communications.

You also requested that Dr. Norman call you to discuss the District's letter to Dr. Kailikole dated December 14,
2017. Please direct any questions concerning this matter to my attention.

Sincerely,
Andrea Naested



Andrea Naested
Currier & Hudson
P.O. Box 910329
San Diego, CA 92191
Ph: 858-481-2429
Fax:858~81-2439
www.currierhudson.com



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telephone at 858481·2429 and destroy this message. Thank you.




From: Evan Dwin [mailto:edwin@dwinlegal.com]
Sent: Tuesday, January 16, 2018 4:15 PM
To: Norman, Lisa M. <lnorman@palomar.edu>
Subject: Kathryn Kailikole

Dear Ms. Norman,

I am an attorney representing Dr. Kathryn Kailikole in connection with her employment with Palomar
College. Accordingly, please direct any further communications regarding Dr. Kailikole to me and do not contact Dr.
Kailikole directly.

As I mentioned in my voicemail to you this afternoon, please call me to discuss the letter you provided to Dr. Kailikole on
December 14, 2017. My phone number is 760-536-6471 or you can e-mail me so can set up a specific time for a
telephone conference.

Thank you for your cooperation in this matter. I look forward to speaking with you.

Sincerely,
Evan Dwin

Evan Dwin
Dwin Legal, APC
2121 Palomar Airport Road, Suite 170


                                                                                                                       Exhibit 1
                                                                                                                       P.2
  Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2588 Page 8 of 31


Carlsbad, CA 92011
Phone:760-536-6471
Fax:760.585-4649
edwinaudwinleAALc!Jm




                                                                                 Exhibit I
                                                                                 P. 3
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2589 Page 9 of 31




                          EXHIBIT2
  Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2590 Page 10 of 31



Evan Dwin
From:                              Andrea <naested@aol.com>
Sent:                              Thursday, February 01, 2018 2:41 PM
To:                                Evan Dwin
Subject:                           RE: Kathryn Kailikole


Dear Mr. Dwin,

This confirms receipt of your request for a copy of Dean Kailikole's personnel file, payroll records and documents signed
by her (pursuant to Labor Code section 432). The District is gathering the documents and I expect to send them to you
electronically next week.

Your email states that with respect to personnel records, "pursuant to the statute, this file necessarily includes any
documents related to "any grievance" concerning Dr. Kailikole as well as any document concerning her
performance." Dr. Kallikole's performance evaluations are included with her personnel file records, however, any
grievances and complaints against her (if they exist), would only be included in her personnel file if she had been
provided with a copy of the materials prior to placement in her file.

You also requested to know the department to which the pending investigation relates, and the specific documents that
Dr. Kailikole is alleged to have disclosed. The relevant department is the Physics/Engineering Department. The District
is not identifying the documents at this time due to the pendency of the investigation.

Please note that Shawna Cohen in the District's Human Resources Department will be emailing Dr. Kailikole in the next
week or so to schedule an interview with the investigator, and will copy you on that communication.

Sincerely,
Andrea Naested



Andrea Naested
Currier & Hudson
P.O. Box 910329
San Diego, CA 92191
Ph: 858-481-2429
Fax: 858-481-2439
www.currierhudson.com



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strictly prohibited. If you have received this communication in error, please notify us immediately by e-mail or
telephone at 858-481-2429 and destroy this message. Thank you.




                                                                                                                         Exhibit 2
                                                                                                                         P. 1
  Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2591 Page 11 of 31


:From: Evan Dwin [mailto:edwin@dwinlegal.com]
 Sent: Tuesday, January 30, 2018 10:18 PM
To: Andrea <naested@aol.com>
Subject: RE: Kathryn Kailikole

Dear Ms. Naested,

I write to follow up on our call from last week, and to request Dr. Kailikole's employment records.

In accordance with Labor Code section 1198.5, please provide me with Dr. Kailikole's entire personnel file. Pursuant to
the statute, this file necessarily includes any documents related to "any grievance'' concerning Dr. Kailikole as well as
any document concerning her performance. Accordingly, among other things, Palomar College should provide copies of
all documents relating the investigation that prompted Palomar to place Dr. Kailikole on paid leave.

In the meantime, on our call, you advised me that you would try to obtain further information regarding the subject
matter of the investigation. The requested information included at least advising me of the department to which the
investigation relates, as well as identifying the documents constituting the purported "confidential information" alleged
to have been disclosed. Please update me on the status of that inquiry.

In addition, pursuant to Labor Code section 226(c), please also provide me with all Dr. Kailikole's pay statements and
other payroll documents within 21 days of this letter. Finally, in accordance with Labor Code section 432, please also
provide me with all documents signed by Dr. Kaillkole since she has been an employee of Palomar College.

If it is more convenient for you, I will accept the documents electronically.

Thank you for your cooperation in this matter.

Sincerely,
Evan Dwin



Evan Dwin
Dwin Legal, APC
2121 Palomar Airport Road, Suite 170 ·
Carlsbad, CA 920 II
Phone: 760-536-6471
Fax:760-585-4649
edwini(tidwinlegal.com

From: Andrea [mailto:naested@aol.com)
Sent: Tuesday, January 23, 2018 3:49 PM
To: Evan Dwin <edwin@dwinlegal.com>
Subject: RE: Kathryn Kailikole

Dear Mr. Dwin,

Our law firm represents the Palomar Community College District. Your email to Dr. Norman (below) requests that the
District communicate with you directly regarding Dr. Kailikole, and also requests that the District not contact Dr. Kailikole
directly. Please be advised that the District has a right as an employer to communicate with Dr. Kailikole directly
regarding employment related matters. For example, the District will send communications directly to Dr. Kailikole
regarding the currently pending workplace investigation such as notification of when her interview will take
place. Pursuant to your request that the District communicate with you about these matters, the District will copy you
on these communications.


                                                                                                                        Exhibit 2
                                                                                                                        P.2
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.You also requested that Dr. Norman call you to discuss the District's letter to Dr. Kailikole dated December 14,
 2017. Please direct any questions concerning this matter to my attention.

Sincerely,
Andrea Naested



Andrea Naested
Currier & Hudson
P.O. Box 910329
San Diego, CA 92191
Ph: 858-481-2429
Fax: 858-481-2439
www.currierhudson.com



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strictly prohibited. If you have received this communication in error, please notify us immediately by e-mail or
telephone at 858-481-2429 and destroy this message. Thank you.




From: Evan Dwin [mailto:edwin@dwinlegal.com]
Sent: Tuesday, January 16, 2018 4:15 PM
To: Norman, Lisa M. <lnorman@palomar.edu>
Subject: Kathryn Kailikole

Dear Ms. Norman,

I am an attorney representing Dr. Kathryn Kailikole in connection with her employment with Palomar
College. Accordingly, please direct any further communications regarding Dr. Kailikole to me and do not contact Dr.
Kailikole directly.

As I mentioned in my voicemail to you this afternoon, please call me to discuss the letter you provided to Dr. Kailikole on
December 14, 2017. My phone number is 760-536-6471 or you can e-mail me so can set up a specific time for a
telephone conference.

Thank you for your cooperation in this matter. I look forward to speaking with you.

Sincerely,
Evan Dwin

Evan Dwin
Dwin Legal, APC
2121 Palomar Airport Road, Suite 170
Carlsbad, CA 920 II
Phone:760-536-6471
Fax:760-585-4649
cd\~ inru)dwinleeal.com




                                                                                                                       Exhibit 2
                                                                                                                       P.3
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                           EXHIBIT 3
  Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2594 Page 14 of 31



Evan Dwin
From:                                  Evan Dwin
Sent:                                  Friday, February 16, 2018 4:43 PM
To:                                    'Andrea'
Subject                                Kathryn Kailikole



Dear Ms. Naested,

In your February 1, 2018 e-mail to me, you indicated that Shawna Cohen would be e-mailing Dr. Kailikole to "schedule an
interview" and that I would be cc'ed on that e-mail.

On February 15,2018, Dr. Kailikole received an e-mail from Shawna Cohen. I was not cc'ed on that e-mail. Additionally,
in the e-mail, Ms. Cohen advises Dr. Kailikole that she may contact the Administrative Association to "arrange for
representation." Ms. Cohen did not mention or acknowledge my current representation of Dr. Kailikole in this matter. I
am concerned about Ms. Cohen offering advice to my client about representation without at least including me on the
e-mail or by first asking you to discuss it with me prior to e-mailing Dr. Kailikole. Please reiterate to Ms. Cohen that, at a
minimum, she should cc me on any communications with my client. Further, please confirm that Ms. Cohen
understands that Dr. Kailikole is represented by counsel and that I should be present for any interview that may take
place.

In addition, we have not yet received a response to my e-mail of February 1, 2018 regarding Dr. Kailikole's personnel
file. As I mentioned, under the express language of Labor Code section 1198.5, Dr. Kailikole's personnel file must include
documents related to "any grievance concerning'' her. This obviously includes any documents related to the
investigation referenced by Ms. Cohen. Your claim that District need not produce such documents unless they were
already provided to Dr. Kailikole is not supported by any authority to which I am aware and, in fact, is contrary to the
statutory purpose of providing employees with access to documents their employers maintain about them. Indeed, as
the court held in Wei/point Health Networks, Inc. v. Superior Court, 59 Cal. App. 4th 110, 124 (1997), Section 1198.5
defines "personnel file" broadly to prevent employers from assigning documents to a differently labeled file, then
refusing access to the documents by claiming that they are not part of the personnel file. Accordingly, please confirm
that such documents will be produced and that such production will happen before any interview with my client.

Finally, in case you are not aware, prior to this investigation being conducted against her, Dr. Kailikole reported that two     ]
professors in the Physics/Engineering Department were posting racist and sexually explicit materials in laboratories
utilized by students and other faculty in violation of Title IX and the California Government Code, as well as other
misconduct. Dr. Kailikole is informed and believes that the investigation against her is in retaliation for her reporting
that illegal conduct.

Thank you for your cooperation in this matter. We will wait to hear from you regarding the production of the
investigation file and confirmation that Dr. Kailikole will have her attorney present for any interview conducted by Mr.
Love.

Sincerely,
Evan Dwin



Evan Dwin
Dwin Legal, APC
2121 Palomar Airport Road, Suite 170
Carlsbad, CA 920 II
Phone: 760-536-6471
Fax: 760-585-4649

                                                                                                                          Exhibit 3
                                                                                                                          P. I
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2595 Page 15 of 31




                           EXHffiiT4
  Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2596 Page 16 of 31



Evan Dwin
From:                              Andrea < naested@aol.com >
Sent:                              Tuesday, February 20, 2018 12:51 PM
To:                                Evan Dwin
Subject                            RE: Kathryn Kailikole- Personnel File and Payroll Records


Dear Mr. Dwin,

This confirms that the District's Human Resources Department will copy you on communications to Dr. Kailikole about
the investigation. This also acknowledges that the District is aware that Dr. Kailikole is represented by counsel and that
you, as her counsel, will be present during her interview. Please note that employees represented by employee
organizations have additional rights to union representation, separate from any right to counsel, that's why the District
advised Dr. Kailikole that she may contact the Administrative Association to arrange for such union representation.

You have requested that the District produce any documents related to "any grievance concerning'' Dr. Kailikole, and
any "documents related to the investigation" before Dr. Kailikole's interview. As you are aware, Dr. Kailikole has a right
to a copy of her personnel file under Labor Code § 1198.5 and Education Code § 87031 within 30 days, and that
"personnel recordsu are defined to include "the records that the employer maintains relating to the employee S
performance or to any grievance concerning the employee." (Labor Code § 1198.5 (a).) It is my understanding that
                                                                                                                1
                                                                                                                              J
there are no formal written grievances or complaints against Dr. Kailikole.

With respect to information in documents related to the investigation, these documents are not personnel
records. While the California Supreme Court has interpreted "personnel record" in the context of community colleges
and K-12 school districts broadly, the Court has held a district is able to conduct its own review and investigation before
deciding whether or not any materials that may affect an employee's employment status should be included as part of a
personnel file. (Miller v. Chico Unified School Dist. (1979) 24 Cal.3d 703, 712-713). In ruling that materials affecting an
employee's employment status must be contained in the personnel file and that employees must be provided a
reasonable opportunity to respond to them, the Court stated: "In requiring notification within a reasonable time we
foresee that a school district may wish to weigh the accuracy, relevance, good faith. or usefulness of any information
it receives before deciding to place the information in its employee's personnel file." (See Miller, 724 at FN 11
(emphasis added).) Thus, the District is conducting its own review and investigation before deciding whether or not any
documents relevant to the investigation should be include~ as part of Or. Kailikole's personnel file. Should the District
determine that such documents should be contained in her personnel file, Dr. Kailikole will be provided with reasonable
notice and an opportunity to respond prior to placement in her personnel file.

Sincerely,
Andrea Naested


Andrea Naested
Currier & Hudson
P.0. Box 910329
San Diego, CA 92191
Ph: 858-481-2429
Fax: 858-481-2439
www.currierhudson.com


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                                                                                                                       Exhibit 4
                                                                                                                       P. 1
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2597 Page 17 of 31




                                                             I


                           EXHIBIT 5
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2598 Page 18 of 31




                                 February 26, 2018

                                 PERSONAL & CONFIDENTIAL
                                 DEUVERY BY EMAIL AND REGUlAR U.S. MAIL
         Gavurn!na Board
          Nina Doarfiald
         l1artc R. M*ar'
                                 Dr. Kathryn Kallllcole
        Job J. HaJc6ft. Ph.D.    P.O. Box308
         Haner Aan Hasch         Sulsan City, CA 94585-(BOI
         Paul P.l1cNamara
         Scudeat T~USCM:         Re:    Twenty-Four C24) Hour Notice Pursuant to Government Code§ 54857
           ASGPraldeM


      OftJco of the Presfdeftt
                                 Dear Dr. Kaillkole:
                                 This letter constitutes formal notice that the Governing Board of tile Palomar
                                 Community College District ("District') will consider, pursuant to Education
                                 Code Section 72411 and Section 2 of your employment contract, whether to
                                 non-renew your employment contract as Dean, Instructional, Mathematics and
                                 the Natural and Health Sciences.

                                 The possible Board action is scheduled to take place durlns a closed session of
                                 the Govemlns Board on February 27, 2018, at approximately 5:00p.m., at the
                                 District's Governing Board room, SSC-1, Student Services Budding, located at
                                 1140 West Mission Road, San Marcos, california, 920&9.

                                 Pursuant to Govemment Code section 54957, you may request that the matter
                                 be heard in an open session rather than a closed session. If you want the
                                 matter to be heard in an open session rather than a closed session, you must
                                 make this request In ~rttlng to me so that 1actually receive It no later than
                                 February 27, 2018, at 10:00 a.m. At either a closed sesslon or an open session,
                                 you and/or your representative wDI have the opportunity to present any oral or
                                 written statements and any other Information that you believe appropriate,
                                 but the session will not be a formal evidentiary hearing within the meaning of
                                 California Code of Ovll Procedure § 1094.5.

                                 If you have any questions, please contact me.

                                 Sln~ly,

                                 ./iftyl~
                                 Usa Norman, Ed.D., J.D.
                                 Assistant Superintendent/Vice President, Human Resource Servica
                                 PALOMAR COMMUNilY COllEGE DISTRICT

                                 cc: Evan Dwin, Attorney (by email edwin@dwinlegal.cam)



                                                                                                                   Exhibit 5
                                                                                                                   P. I
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                           EXHIBIT6
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Evan Dwin
From:                              Evan Dwin
Sent                               Tuesday, February 27,2018 7:47AM
To:                                Andrea
Subject                            Kathryn Kailikole

Importance:                        High



Dear Ms. Naested,

I write in response to a letter from Dr. Lisa Norman that Dr. Kailikole received yesterday. In the letter, Dr. Norman,
advises Dr. Kailikole that the Board is considering whether to non-renew Dr. Kailikole's contract. The letter further
advises that the action is scheduled to take place during a closed meeting "at approximately 5:00p.m." on February 27,
2018. The letter was sent via e-mail at approximately 3:08 p.m. Dr. Norman also states that the letter was sent by mail
but Dr. Kailikoke has not received it by mail.

Dr. Norman's letter states that it "constitutes formal notice" that the Board of the Palomar Community College District
(the "District") will consider whether to non-renew Dr. Kailikole's contract as Dean, Instructional, Mathematics and the
Natural Health Sciences. The letter does not state any reason why the District is considering this action.

As the letter seems to acknowledge, pursuant to Government Code section 54957(b)(2), Dr. Kailikole is entitled to notice
- 24 hours in advance of the meeting- of her right to have any complaint or charge against her heard in an open session
rather than a closed session. Dr. Norman's letter fails to meet this requirement in several material respects.

First, Section 54957(b)(2} requires that the notice be "delivered to the employee personally or by mail at least 24 hours
before the time for the holding the session." On its face, Dr. Norman's letter fails to meet this requirement because it
was sent by e-mail and the mailing was too late to be delivered to Dr. Kailikole more than 24 hours in advance of the
meeting. In addition, Dr. Norman demands that Dr. Kailikole advise as to whether she is requesting an open meeting
"no later than February 27, 2018 at 10:00 a.m" which renders the notice several hours shorter than the 24 hours
required by law. Further, the letter lists the time of the meeting as 5:00 p.m, while the agenda for the meeting wh.ich
states that the closed session beings at 4:00 p.m. Thus, the notice is defective in numerous and material aspects and is
insufficient to apprise Dr. Kailikole of her rig~ts sufficiently in advance of this meeting.

In addition, it not clear whether, in taking possible action against Dr. Kailikole, the District is considering any charges or
complaints against Dr. Kailikole. For example, the letter does not mention the pending investigation of Dr. Kailikole,
which Dr. Kailikole believes is in retaliation for reporting Improper conduct by members of the faculty who violated the
District's rules and applicable law against harassment based on sex and race. Given that Dr. Kailikole's interview with
the investigator is tomorrow, the investigation is incomplete and any action by the District at this point related to Dr.
Kailikole's employment contravenes Dr. Kailikole's due process rights and general principles of fairness. Indeed, two
months after being abruptly placed on paid leave, Dr. Kailikole still does not know of what she is being accused. Further,
Dr. Kailikole has been ordered not to discuss the investigation with anyone and to maintain confidentiality. This
instruction, coupled with the fact that Dr. Kailikole does not know of what she is being accused, rendered it Impossible
to for her to gather evidence in her defense. Thus, any proceedings related to her contract are premature and
fundamentally unfair.

Given the facially defective and opaque nature of the notice, it Is difficult for Dr. Kailikole to make an informed decision
regarding how to exercise her rights. However, and without waiver of Dr. Kailikole's right to further challenge the
validity of the notice at a later time, Dr. Kailikole hereby requests an open session wherein she can present a statement
regarding her excellent job performance and her general confusion and disappointment related to the lack of
transparency surrounding the District's actions in placing her on paid leave.

                                                                                                                         Exhibit 6
                                                                                                                         P. 1
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Further, because Dr. Kailikole has been ordered to maintain confidentiality regarding the investigation, Dr. Kallikole
requests that she be informed in advance of the meeting of the scope of the issues being considered by the District and
what it believes Dr. Kailikole is entitled to discuss at the open meeting. Dr. Kailikole further requests that a closed
session be available- at her option - for parts of the proceedings that involve the discussion of matters that are
confidential.

Please confirm receipt of this e-mail and that It will be provided immediately to Dr. Norman. Please also provide more
details regarding the purpose of the meeting and scope· of what the District expects will be discussed.

Thank you for your cooperation in this matter.

Sincerely,
Evan Dwin

Evan Dwin
Dwin Legal, APC
2121 Palomar Airport Road, Suite 170
Carlsbad, CA 92011
Phone: 760-536-6471
Fax:760-S8S-4649
edwin@dwinlegal.com




                                                                                                                    Exhibit 6
                                                                                                                    P.2
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                           EXHIBIT7
 Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2603 Page 23 of 31



Evan Dwin

From:                             Andrea <naested@aol.com>
Sent                              Tuesday, February 27, 2018 3:11PM
To:                               Evan Dwin
Subject:                          RE: Kathryn Kailikole
Attachments:                      BP-2350-Speakers.pdf


Dear Mr. Dwin,

Your email this morning raised a number of issues, including that the District's 24-hour notice failed to comply with the
Brown Act because it was sent by e-mail and also mailed out too late to be delivered to Dr. Kailikole at least 24 hours in
advance of the meeting. Please note that Dr. Kailikole received "actual notice" since she actually received the notice by
email at least 24 hours in advance of the session before the Board.

In addition, your email states i~s unclear whether in taking possible action to non-renew Dr. Kailikole's employment
contract, the Board "is considering any complaints or charges against'' her. The Board will not consider complaints and
charges against Dr. Kailikole at the meeting tonight, but simply consider whether to non-renew her employment
contract as it has discretion to do under Section 2 of the contract and Education Code section 72411. The courts have
held that simply considering whether to dismiss a public employee, where the dismissal is not based on accusations of
misconduct, does not amount to a "hearing of complaints or charges" and therefore does not require advance notice to
the employee under the Brown Act (Moreno v. City of King (App. 6 Dist. 2005) 25 Cai.Rptr.3d 29). In this case, the
District provided a 24-hour notice out of an abundance of caution even though it is not required to provide such notice
since the Board will not consider "complaints or charges" in closed session.

You requested an open session Board meeting so that Dr. Kailikole can present a statement, and also requested closed
session "for parts of the proceedings that involve the discussion of matters that are confidential." Please note that Dr.
Kailikole can elect to present a statement to the Board during "public comment," and that the District will keep the
closed session matter on the agenda for the Board to consider whether to take action to non-renew her employment
contract under Section 2 of the contract and Education Code section 72411. If Dr. Kailikole wishes to make a statement
to the Board in open session, she should complete a written request to address the Governing Board at the beginning of
the meeting (like all speakers that wish to address the Board pursuant to Board Policy 2350). Please see that attached
Board Policy.

You also requested that Dr. Kailikole be informed in advance of the Board meeting about the scope of the issues being ]
considered by the District and what it believes Dr. Kailikole "is entitled to discuss at the open meeting." Please note the
Board will not consider complaints and charges, but simply consider whether to non-renew Dr. Kailikole's contract as it
routinely does for administrators employed by contract. Please note further that with respect to the content of Dr.
Kailikole's comments in open session, the Brown Act broadly defines the subject matter to be discussed at Board
meetings as "any Item of interest to the public .•. that is within the subject matter of the legislative body" in Government
Code section 54954.3(a), and that Section 54954.3(c) further prohibits the legislative body of a local agency from limiting
public criticism of the policies, procedures, programs, or services of the agency, or of the acts or omissions of the
legislative body. In addition, Board meetings are limited public forums and, as such, while the District may limit the
subject matter to be discussed (for example, to subjects within the jurisdiction of the Board), it may not limit the views
which may be expressed on such subjects without violating state and federal constitutional speech and viewpoint
protections. Boca v. Moreno Volley Unified Sch. Dist., 936 F.Supp. 719 (C.D. Cal.1996).

Sincerely,
Andrea Naested




                                                                                                                       Exhibit 7
                                                                                                                       P. I
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. Andrea Naested
  Currier & Hudson
  P.O. Box 910329
  San Diego, CA 92191
  Ph: 858-481-2429
  Fax: 858-481-2439
  www .currierhudson.com



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  From: Evan Dwin [mailto:edwin@dwinlegal.com]
  Sent: Tuesday, February 27,201811:24 AM
  To: Andrea <naested@aol.com>
  Subject: RE: Kathryn Kailikole

  Thank you, Andrea.

  Evan Dwin
  Dwin Legal, APC
  2121 Palomar Airport Road, Suite 170
  Carlsbad, CA 920 J J
  Phone: 760-536-6471
  Fax:760-585~649
  edwinftii.dwin legal.com


  From: Andrea [mailto:naested@aol.com]
  Sent: Tuesday, February 27, 201811:17 AM
  To: Evan Dwin <edwin@dwinlegal.com>
  Subject: RE: Kathryn Kailikole

  Dear Mr. Dwin,

  This confirms receipt of your e-mail and that it has been provided to Dr. Norman. 1will respond to the issues you've
  raised later today.

  Sincerely,
  Andrea Naested


 Andrea Naested
 Currier & Hudson
 P.0. Box 910329
 San Diego, CA 92191

                                                                                                                         Exhibit 7
                                                                                                                         P.2
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    Fax:858-481-2439
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    telephone at 858-481-2429 and destroy this message. Thank you.




    From: Evan Dwin [mailto:edwin@dwinlegal.coml
    Sent: Tuesday, February 27, 2018 7:47 AM
    To: Andrea <naested@aol.com>
    Subject: Kathryn Kailikole
    Importance: High

    Dear Ms. Naested,

    I write in response to a letter from Dr. Lisa Norman that Dr. Kailikole received yesterday. In the letter, Dr. Norman,
    advises Dr. Kailikole that the Board is considering whether to non-renew Dr. Kailikole's contract. The letter further
    advises that the action is scheduled to take place during a closed meeting "at approximately 5:00 p.m." on February 27,
    2018. The letter was sent via e-mail at approximately 3:08 p.m. Dr. Norman also states that the letter was sent by mail
    but Dr. Kailikoke has not received it by mail.

    Dr. Norman's letter states that it "constitutes formal notice" that the Board of the Palomar Community College District
    (the "District'') will consider whether to non-renew Dr. Kailikole's contract as Dean, Instructional, Mathematics and the
    Natural Health Sciences. The letter does not state any reason why the District is considering this action.

    As the letter seems to acknowledge, pursuant to Government Code section 54957(b)(2), Dr. Kailikole is entitled to notice
    - 24 hours in advance of the meeting- of her right to have any complaint or charge against her heard in an open session
    rather than a closed session. Dr. Norman's letter fails to meet this requirement in several material respects.

    First, Section 54957(b)(2) requires that the notice be "delivered to the employee personally or by mail at least 24 hours
    before the time for the holding the session." On its face, Dr. Norman's letter fails to meet this requirement because it
    was sent by e-mail and the mailing was too late to be delivered to Dr. Kailikole more than 24 hours in advance of the
    meeting. In addition, Dr. Norman demands that Dr. Kailikole advise as to whether she is requesting an open meeting
    "no later than February 27, 2018 at 10:00 a.m" which renders the notice several hours shorter than the 24 hours
    required by law. Further, the letter lists the time of the meeting as 5:00 p.m, while the agenda for the meeting which
    states that the closed session beings at 4:00 p.m. Thus, the notice is defective in numerous and material aspects and is
    insufficient to apprise Dr. Kailikole of her rights sufficiently in advance of this meeting.

    In addition, it not clear whether, in taking possible action against Dr. Kailikole, the District is considering any charges or
    complaints against Dr. Kailikole. For example, the letter does not mention the pending investigation of Dr. Kailikole,
    which Dr. Kailikole believes is in retaliation for reporting improper conduct by members of the faculty who violated the
    District's rules and applicable law against harassment based on sex and race. Given that Dr. Kailikole's interview with
    the investigator is tomorrow, the investigation is incomplete and any action by the District at this point related to Dr.
    Kailikole's employment contravenes Dr. Kailikole's due process rights and general principles of fairness. Indeed, two
    months after being abruptly placed on paid leave, Dr. Kailikole still does not know of what she is being accused. Further,


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' Dr. Kailikole has been ordered not to discuss the investigation with anyone and to maintain confidentiality. This
  instruction, coupled with the fact that Dr. Kailikole does not know of what she is being accused, rendered it impossible
  to for her to gather evidence in her defense. Thus, any proceedings related to her contract are premature and
  fundamentally unfair.

  Given the facially defective and opaque nature of the notice, it is difficult for Dr. Kailikole to make an informed decision
  regarding how to exercise her rights. However, and without waiver of Dr. Kailikole's right to further challenge the
  validity of the notice at a later time, Dr. Kailikole hereby requests an open session wherein she can present a statement
  regarding her excellent job performance and her general confusion and disappointment related to the lack of
  transparency surrounding the District's actions in placing her on paid leave.

 Further, because Dr. Kailikole has been ordered to maintain confidentiality regarding the investigation, Dr. Kailikole
 requests that she be informed in advance of the meeting of the scope of the issues being considered by the District and
 what it believes Dr. Kailikole is entitled to discuss at the open meeting. Dr. Kailikole further requests that a closed
 session be available- at her option- for parts of the proceedings that involve the discussion of matters that are
 confidential.

 Please confirm receipt of this e-mail and that it will be provided immediately to Dr. Norman. Please also provide more
 details regarding the purpose of the meeting and scope of what the District expects will be discussed.

 Thank you for your cooperation in this matter.

 Sincerely,
 Evan Dwin

 Evan Dwin
 Dwin Legal~ APC
 2121 Palomar Airport Road~ Suite 170
 Carlsbad, CA 920 II
 Phone:760-536-6471
 Fax: 7~585-4649
 edwint@dwinlegal.com




                                                                                                                          Exhibit 7
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                           EXHIBIT 8
Case 3:18-cv-02877-AJB-MSB Document 18-2 Filed 04/17/19 PageID.2608 Page 28 of 31




     EVANDWIN
     760.538.&t71 telopllonO
                                               Dwin Legal, APC                                        Owift Legal, APC
                                                                                  2121 Palomar Airport Road, SUito 170
                                                                                                  Carllbad. CA 8Z011
     760.585.4649 racalm!IO
     edwlnG*Inlogd.cam




                                                      January 9, 2019



     VIAE-MAIL

     Kevonna Ahmad
     kahn18dt@fishemhillips.cotn

     Adam F. Sloustcher
     asloustcher@Jfisbemhillios.com


                 Re:           Kili/Jkole v. Palomar Commullity CoDege District
     Dear Ms. Ahmad and Mr. Sloustcher:
             I write in response to your letter dated January 7, 2019 and to confirm our discussion of
     today' s date.

             As 1infonned you on our call today, the California Supreme Court recently, and
     unanimously, rejected the type of abusive anti-SLAPP motion suggested by your letter. In Park
     v. Bomd ofTrustees, 2 Cal. Sth I OS7 (20 18), the court held that a claim by a professor who
     alleged the decision to deny his tenure was discriminatory was not subject to an anti-SLAPP
     motion. The Regents argued that the plaintiff's claims arose out of protected activity because the
     allegedly discriminatory decision was rendered in protected statements connected to the tenure
     review process. The Court rejected this argument because the elements of the plaintiff's
     discrimination claims were not based on the process or any statements by the Regents but "only
     on the denial of tenure itself and whether the motive for that action was impennissible." Id. at
     1068.

            Similarly, in Nam v. Regents ofCalifornia, 1 Cal. App. 5th 1176 (2016), the Court of
     Appeal held that a claim for harassment and retaliation by a resident physician tenninated after a
     peer review process was not subject to an anti-SLAPP motion. The court reasoned that even
     though protected speech, such as the notice of termination, was used to carry out the
     discriminatory conduct, that does not transform a discrimination suit to one about speech.
     Further, as applicable here, the court reasoned that the anti-SLAPP statute cannot be used to
     immunize discriminatory employment decisions canied out through protected processes or
     speech because it would allow "any employer that initiates an investigation of an employee,
     whether for lawful or unlawful motives" to be "at liberty to claim its conduct was protected and




                                                                                                                         Exhibit 8
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     Dwin Legal, APC
     Kevonna Ahmad
     Adam F. Sloustcher
     January 9, 2019
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     thereby shift the burden of proof to the employee" which would be "fatal for most harassment,
     discrimination and retaliation actions against public employers." ld. at 1179.

            Notably, the court in Nam called the Regents position a "misguided" use of the anti-
     SLAPP procedure. In fact, the court reasoned that the Regents' anti-SLAPP motion was
     "abusive" and part of the "'very disease" the anti-SLAPP statute was passed to prevent:

            The quintessential SLAPP is filed by an economic powerhouse to dissuade its
            opponent from exercising its constitutional right to free speech or to petition. The
            objective of the litigation is not to prevail but to exact enough financial pain to
            induce forbearance. As its name suggests, it is a strategic lawsuit designed to
            stifle dissent or public participation. It is hard to imagine that a resident's
            complaint alleging retaliatory conduct was designed to, or could, stifle the
            University from investigating and disciplining doctors who endanger public
            health and safety. The underlying lawsuit may or may not have merit that can be
            tested by summary judgment, but it is quite a stretch to consider it a SLAPP
            merely because a public university commences an investigation.
     ld at 1193.

              As made clear in Park and Nam, the District cannot use the anti-SLAPP procedures to
     immunize itselfftom Dr. Kailikole's claims, which are based on the discriminatory and
     retaliatory decisions to place her on paid leave, non-renew her contract and tenninate her. Dr.
     Kailikole's claims do not in any way "arise out of" the processes that were used by the District to
     carry out these discriminatory and retaliatory adverse employment actions. Indeed, the District's
     auempt to silence Dr. Kailikole through an anti-SLAPP motion contravenes the entire purpose of
     both the anti-SLAPP statute and FEHA's policy of protecting persons who report discriminatory
     and harassing conduct. Accordingly, should the District proceed with a frivolous anti-SLAPP
     motion in contravention of controlling authority by the California Supreme Court, Dr. Kailikole
     will seek her attorneys' fees in connection with defending it.
             Your argument that Dr. Kailikole was required to exhaust internal grievance procedures
     also contravenes applicable and controlling law. As the California Supreme Court plainly held
     in Schifando v. City ofLos Angeles, 31 Cal. 4th 1074, 1092 (2003), a FBHA plaintiff does ng,t
     need to exhaust internal remedies before pmsuing a civil action. Further, in Ortega v. Contra
     Costa Community College, 156 Cal. App. 4th 1073 (2007), the court held that non-FEHA claims
     based on the same facts as FEHA claims are not subject to the internal exhaustion requirement.
     Id. at 1086. The court reasoned that it would be unfair to require a plaintiff to pursue any claims
     intemally which might result in preclusive findings in a later FEHA action. Jd Thus, under
     Schifando and Ortega, Dr. Kailikole was entitled to forego internal procedures to preserve her
     FBHA claims and any other claims based on the same facts.




                                                                                                           Exhibit 8
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     Kevonna Ahmad
     Adam F. Sloustcher
     January 9, 2019
     Page3

             The District's reliance on Terris v. County ofSanta Barbara, 20 Cal. App. Sth SS 1 (2018)
     is misplaced. In Te"is, the plaintiff's whistleblower claims were based on retaliation for
     complaints about interference with her labor organizing activities and were not based on
     allegations of retaliation for reporting discrimination or harassment asserted in a related FEHA
     claim. Thus, Terris is inapplicable and Dr. Kailikole was not required to pursue internal
     remedies for any of her claims.

              In addition, there is no authority for the proposition that the District is somehow immune
     from liability for discriminatory and retaliatory employment decisions. None of the cases you
     cite have anything to do with sex and race discrimination or adverse employment actions in
     retaliation for reporting it and all of them are inapplicable.

            Finally, the so-called "manager's rule" cannot immunize the District for its decision to
     tenninate Dr. Kailikole in retaliation for her reporting of sex and race discrimination and
     harassment by Drs. Nakajima and Gerwig. Garcetti v. Ceballos, 547 U.S. 410 (2006) was a free
     speech case and had nothing to do with a manager who reported harassment and discrimination.

             Rosenjeldv. Globa/Tranz Enterprises, Inc., 811 F. 3d 282,286 (9th Cir. 2015) is also
     inapplicable. Rosenfeld involved a human resources manager who complained about wage
     practices that violated the FLSA which is a completely different statutory scheme, than Title VI,
     Title IX and FEHA. In fact, in DeMasters v. Carillion Clinic, 196 F. 3d 409 (4th Cir. 2015), the
     court held that the "manager's rule", which is of questionable validity in any context, does not
     apply to discrimination claims brought under Tide VII. Further, even in Roserifelt, the court
     denied summary judgment because the manager was in fact complaining on behalf of employees
     and not simply perfonning her management duties.

             Dr. K.ailikole was a Dean and not a human resources manager. She reported and
     complained about the discriminatory and harassing conduct by Nakajima and Gerwig to protect
     the victims. Further, she was a witness in the investigation and not the person responsible for
     conducting it or administering appropriate discipline. Thus, even if the "manager's rule" could
     apply to a claim under the relevant discrimination statutes (which it cannot), it would not apply
     to Dr. Kailikole's claims.




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                                                                                                           Exhibit 8
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     Dwin Legal, APC
     Kevonna Ahmad
     Adam F. Sloustcber
     January 97 2019
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            Based on the foregoing, the District has no grounds to strike or dismiss the Complaint
     However7 pursuant to our discussion today, we agree to continue the meet and confer process so
     that we can consider the issues and try to avoid unnecessary motion practice. In accordance
     therewith, Dr. Kailikole agrees to further extend the District's deadline to respond to the
     Complaint to January 257 2019.

                                                        Very truly yours,



                                                        EvanDwin




                                                                                                      Exhibit 8
                                                                                                      P.4
